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              DEPARTMENT OF JUSTICE




                  OFFICE OF
         PROFESSIONAL RESPONSIBILITY

       EXECUTIVE SUMMARY OF REPORT

                           Investigation into the
       U.S. Attorney’s Office for the Southern District of Florida’s
      Resolution of Its 2006–2008 Federal Criminal Investigation of
Jeffrey Epstein and Its Interactions with Victims during the Investigation


                            November 2020
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                                     EXECUTIVE SUMMARY

         The Department of Justice (Department) Office of Professional Responsibility (OPR)
investigated allegations that in 2007-2008, prosecutors in the U.S. Attorney’s Office for the
Southern District of Florida (USAO) improperly resolved a federal investigation into the criminal
conduct of Jeffrey Epstein by negotiating and executing a federal non-prosecution agreement
(NPA). The NPA was intended to end a federal investigation into allegations that Epstein engaged
in illegal sexual activity with girls. 1 OPR also investigated whether USAO prosecutors committed
professional misconduct by failing to consult with victims of Epstein’s crimes before the NPA was
signed or by misleading victims regarding the status of the federal investigation after the signing.

I.      OVERVIEW OF FACTUAL BACKGROUND

        The Palm Beach (Florida) Police Department (PBPD) began investigating Jeffrey Epstein
in 2005, after the parents of a 14-year-old girl complained that Epstein had paid her for a massage.
Epstein was a multi-millionaire financier with residences in Palm Beach, New York City, and
other United States and foreign locations. The investigation led to the discovery that Epstein used
personal assistants to recruit girls to provide massages to him, and in many instances, those
massages led to sexual activity. After the PBPD brought the case to the State Attorney’s Office, a
Palm Beach County grand jury indicted Epstein, on July 19, 2006, for felony solicitation of
prostitution in violation of Florida Statute § 796.07. However, because the PBPD Chief and the
lead Detective were dissatisfied with the State Attorney’s handling of the case and believed that
the state grand jury’s charge did not address the totality of Epstein’s conduct, they referred the
matter to the Federal Bureau of Investigation (FBI) in West Palm Beach for a possible federal
investigation.

        The FBI brought the matter to an Assistant U.S. Attorney (AUSA), who opened a file with
her supervisor’s approval and with the knowledge of then U.S. Attorney R. Alexander Acosta.
She worked with two FBI case agents to develop a federal case against Epstein and, in the course
of the investigation, they discovered additional victims. In May 2007, the AUSA submitted to her
supervisors a draft 60-count indictment outlining charges against Epstein. She also provided a
lengthy memorandum summarizing the evidence she had assembled in support of the charges and
addressing the legal issues related to the proposed charges.

        For several weeks following submission of the prosecution memorandum and proposed
indictment, the AUSA’s supervisors reviewed the case to determine how to proceed. At a July 31,
2007 meeting with Epstein’s attorneys, the USAO offered to end its investigation if Epstein pled
guilty to state charges, agreed to serve a minimum of two years’ incarceration, registered as a
sexual offender, and agreed to a mechanism through which victims could obtain monetary
damages. The USAO subsequently engaged in additional meetings and communications with
Epstein’s team of attorneys, ultimately negotiating the terms of a state-based resolution of the
federal investigation, which culminated in the signing of the NPA on September 24, 2007. The

1
        As used in this Report, including in quoted documents and statements, the word “girls” refers to females who
were under the age of 18 at the time of the alleged conduct. Under Florida law, a minor is a person under the age
of 18.
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NPA required Epstein to plead guilty in state court to the then-pending state indictment against
him and to an additional criminal information charging him with a state offense that would require
him to register as a sexual offender—specifically, procurement of minors to engage in prostitution,
in violation of Florida Statute § 796.03. The NPA required Epstein to make a binding
recommendation that the state court sentence him to serve 18 months in the county jail followed
by 12 months of community control (home detention or “house arrest”). The NPA also included
provisions designed to facilitate the victims’ recovery of monetary damages from Epstein. In
exchange, the USAO agreed to end its investigation of Epstein and to forgo federal prosecution in
the Southern District of Florida of him, four named co-conspirators, and “any potential
co-conspirators.” Victims were not informed of, or consulted about, a potential state resolution or
the NPA prior to its signing.

         The signing of the NPA did not immediately lead to Epstein’s guilty plea and incarceration,
however. For the next nine months, Epstein deployed his extensive team of prominent attorneys
to try to change the terms that his team had negotiated and he had approved, while simultaneously
seeking to invalidate the entire NPA by persuading senior Department officials that there was no
federal interest at issue and the matter should be left to the discretion of state law enforcement
officials. Through repeated communications with the USAO and senior Department officials,
defense counsel fought the government’s interpretation of the NPA’s terms. They also sought and
obtained review by the Department’s Criminal Division and then the Office of the Deputy Attorney
General, primarily on the issue of federal jurisdiction over what the defense insisted was “a
quintessentially state matter.” After reviewing submissions by the defense and the USAO, on
June 23, 2008, the Office of the Deputy Attorney General informed defense counsel that the
Deputy Attorney General would not intervene in the matter. Only then did Epstein agree to fulfill
his obligation under the NPA, and on June 30, 2008, he appeared in state court and pled guilty to
the pending state indictment charging felony solicitation of prostitution and, pursuant to the NPA,
to a criminal information charging him with procurement of minors to engage in prostitution.
Upon the joint request of the defendant and the state prosecutor, and consistent with the NPA, the
court immediately sentenced Epstein to consecutive terms of 12 months’ incarceration on the
solicitation charge and 6 months’ incarceration on the procurement charge, followed by 12 months
of community control. Epstein began serving the sentence that day, in a minimum-security Palm
Beach County facility. A copy of the NPA was filed under seal with the state court.

        On July 7, 2008, a victim, identified as “Jane Doe,” filed in federal court in the Southern
District of Florida an emergency petition alleging that the government violated the Crime Victims’
Rights Act (CVRA), 18 U.S.C. § 3771, when it resolved the federal investigation of Epstein
without consulting with victims, and seeking enforcement of her CVRA rights. 2 In responding to
the petition, the government, represented by the USAO, revealed the existence of the NPA, but did
not produce it to the petitioners until the court directed it to be turned over subject to a protective
order; the NPA itself remained under seal in the federal district court. After the initial filings and
hearings, the CVRA case was dormant for almost two years while the petitioners pursued civil
cases against Epstein.


2
          Emergency Victim’s Petition for Enforcement of Crime Victim’s [sic] Rights Act, 18 U.S.C. Section 3771,
Doe v. United States, Case No. 9:08-cv-80736-KAM (S.D. Fla. July 7, 2008). Another victim subsequently joined
the litigation as “Jane Doe 2.”


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         Soon after he was incarcerated, Epstein applied for the Palm Beach County Sheriff’s work
release program, and the Sheriff approved his application. In October 2008, Epstein began
spending 12 hours a day purportedly working at the “Florida Science Foundation,” an entity
Epstein had recently incorporated that was co-located at the West Palm Beach office of one of
Epstein’s attorneys. Although the NPA specified a term of incarceration of 18 months, Epstein
received “gain time,” that is, time off for good behavior, and he actually served less than 13 months
of incarceration. On July 22, 2009, Epstein was released from custody to a one-year term of home
detention as a condition of community control, and he registered as a sexual offender with the
Florida Department of Law Enforcement. After victims and news media filed suit in Florida courts
for release of the copy of the NPA that had been filed under seal in the state court file, a state judge
in September 2009 ordered it to be made public.

        By mid-2010, Epstein reportedly settled multiple civil lawsuits brought against him by
victims seeking monetary damages, including the two petitioners in the CVRA litigation. During
the CVRA litigation, the petitioners sought discovery from the USAO, which made substantial
document productions, filed lengthy privilege logs in support of its withholding of documents, and
submitted declarations from the AUSA and the FBI case agents who conducted the federal
investigation. The USAO opposed efforts to unseal various records, as did Epstein, who was
permitted to intervene in the litigation with respect to certain issues. Nevertheless, the court
ultimately ordered that substantial records relating to the USAO’s resolution of the Epstein case
be made public. During the course of the litigation, the court made numerous rulings interpreting
the CVRA. After failed efforts to settle the case, the parties’ cross motions for summary judgment
remained pending for more than a year.

       In 2017, President Donald Trump nominated Acosta to be Secretary of Labor. At his
March 2017 confirmation hearing, Acosta was questioned only briefly about the Epstein case. On
April 17, 2017, the Senate confirmed Acosta’s appointment as Labor Secretary.

        In the decade following his release from incarceration, Epstein reportedly continued to
settle multiple civil suits brought by many, but not all, of his victims. Epstein was otherwise able
to resume his lavish lifestyle, largely avoiding the interest of the press. On November 28, 2018,
however, the Miami Herald published an extensive investigative report about state and federal
criminal investigations initiated more than 12 years earlier into allegations that Epstein had coerced
girls into engaging in sexual activity with him at his Palm Beach estate. 3 The Miami Herald
reported that in 2007, Acosta entered into an “extraordinary” deal with Epstein in the form of the
NPA, which permitted Epstein to avoid federal prosecution and a potentially lengthy prison
sentence by pleading guilty in state court to “two prostitution charges.” According to the Miami
Herald, the government also immunized from prosecution Epstein’s co-conspirators and
concealed from Epstein’s victims the terms of the NPA. Through its reporting, which included
interviews of eight victims and information from publicly available documents, the newspaper
painted a portrait of federal and state prosecutors who had ignored serious criminal conduct by a
wealthy man with powerful and politically connected friends by granting him a “deal of a lifetime”
that allowed him both to escape significant punishment for his past conduct and to continue his

3
        Julie K. Brown, “Perversion of Justice,” Miami Herald, Nov. 28, 2018. https://www.miamiherald.com/
news/local/article220097825.html.


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abuse of minors. The Miami Herald report led to public outrage and media scrutiny of the
government’s actions. 4

        On February 21, 2019, the district court granted the CVRA case petitioners’ Motion for
Partial Summary Judgment, ruling that the government violated the CVRA in failing to advise the
victims about its intention to enter into the NPA.5 The court also found that letters the government
sent to victims after the NPA was signed, describing the investigation as ongoing, “mislead [sic]
the victims to believe that federal prosecution was still a possibility.” The court also highlighted
the inequity of the USAO’s failure to communicate with the victims while at the same time
engaging in “lengthy negotiations” with Epstein’s counsel and assuring the defense that the NPA
would not be “made public or filed with the court.” The court ordered the parties to submit
additional briefs regarding the appropriate remedies. After the court’s order, the Department
recused the USAO from the CVRA litigation and assigned the U.S. Attorney’s Office for the
Northern District of Georgia to handle the case for the government. Among the remedies sought
by the petitioners, and opposed by the government, was rescission of the NPA and federal
prosecution of Epstein.

        On July 2, 2019, the U.S. Attorney’s Office for the Southern District of New York obtained
a federal grand jury indictment charging Epstein with one count of sex trafficking of minors and
one count of conspiracy to commit sex trafficking of minors. The indictment alleged that from
2002 until 2005, Epstein created a vast network of underage victims in both New York and Florida
whom he sexually abused and exploited. Epstein was arrested on the charges on July 6, 2019. In
arguing for Epstein’s pretrial detention, prosecutors asserted that agents searching Epstein’s
Manhattan residence found thousands of photos of nude and half-nude females, including at least
one believed to be a minor. The court ordered Epstein detained pending trial, and he was remanded
to the custody of the Bureau of Prisons and held at the Metropolitan Correctional Center in
Manhattan.

        Meanwhile, after publication of the November 2018 Miami Herald report, the media and
Congress increasingly focused attention on Acosta as the government official responsible for the
NPA. On July 10, 2019, Acosta held a televised press conference to defend his and the USAO’s
actions. Acosta stated that the Palm Beach State Attorney’s Office “was ready to allow Epstein to
walk free with no jail time, nothing.” According to Acosta, because USAO prosecutors considered
this outcome unacceptable, his office pursued a difficult and challenging case and obtained a
resolution that put Epstein in jail, forced him to register as a sexual offender, and provided victims
with the means to obtain monetary damages. Acosta’s press conference did not end the
controversy, however, and on July 12, 2019, Acosta submitted to the President his resignation as

4
          See, e.g., Ashley Collman, “Stunning new report details Trump’s labor secretary’s role in plea deal for
billionaire sex abuser,” The Business Insider, Nov. 29, 2018; Cynthia McFadden, “New Focus on Trump Labor
Secretary’s role in unusual plea deal for billionaire accused of sexual abuse,” NBC Nightly News, Nov. 29, 2018; Anita
Kumar, “Trump labor secretary out of running for attorney general after Miami Herald report,” McClatchy Washington
Bureau, Nov. 29, 2018; Emily Peck, “How Trump’s Labor Secretary Covered For A Millionaire Sex Abuser,”
Huffington Post, Nov. 29, 2018; Julie K. Brown, et al., “Lawmakers issue call for investigation of serial sex abuser
Jeffrey Epstein’s plea deal,” Miami Herald, Dec. 6, 2018.
5
          Doe v. United States, 359 F. Supp. 3d 1201 (S.D. Fla., Feb. 21, 2019) (Opinion and Order, 9:08-80736-CIV-
Marra).


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Secretary of Labor. In a brief oral statement, Acosta explained that continued media attention on
his handling of the Epstein investigation rather than on the economy was unfair to the Labor
Department.

      On August 10, 2019, Epstein was found hanging in his cell and was later pronounced dead.
The New York City Chief Medical Examiner concluded that Epstein had committed suicide.

       As a result of Epstein’s death, the U.S. Attorney’s Office for the Southern District of
New York filed a nolle prosequi to dismiss the pending indictment against Epstein. On
August 27, 2019, the district court held a hearing at which more than a dozen of Epstein’s
victims—including victims of the conduct in Florida that was addressed through the NPA—spoke
about the impact of Epstein’s crimes. The court dismissed the Epstein indictment on
August 29, 2019.

        After Epstein’s death, the federal district court in Florida overseeing the CVRA litigation
denied the petitioners their requested remedies and closed the case as moot. Among its findings,
the court concluded that although the government had violated the CVRA, the government had
asserted “legitimate and legally supportable positions throughout this litigation,” and therefore had
not litigated in bad faith. The court also noted it expected the government to “honor its
representation that it will provide training to its employees about the CVRA and the proper
treatment of crime victims,” as well as honoring its promise to meet with the victims.

        On September 30, 2019, CVRA petitioner “Jane Doe 1” filed in her true name a petition
for a writ of mandamus in the United States Court of Appeals for the Eleventh Circuit, seeking
review of the district court’s order denying all of her requested remedies. In its responsive brief,
the government argued that “as a matter of law, the legal obligations under the CVRA do not attach
prior to the government charging a case” and thus, “the CVRA was not triggered in [the Southern
District of Florida] because no criminal charges were brought.” Nevertheless, during oral
argument, the government conceded that the USAO had not been “fully transparent” with the
petitioner and had “made a mistake in causing her to believe that the case was ongoing when in
fact the NPA had been signed.” On April 14, 2020, a divided panel of the Court of Appeals denied
the petition, ruling that CVRA rights do not attach until a defendant has been criminally charged.
On August 7, 2020, the court granted the petition for rehearing en banc and vacated the panel’s
opinion; as of the date of this Report, a briefing schedule has been issued, and oral argument is set
for December 3, 2020.

II.    THE INITIATION AND SCOPE OF OPR’S INVESTIGATION

        After the Miami Herald published its investigative report on November 28, 2018,
U.S. Senator Ben Sasse, Chairman of the Senate Judiciary Subcommittee on Oversight, Agency
Action, Federal Rights and Federal Courts, sent a December 3, 2018 letter to OPR, citing the Miami
Herald’s report and requesting that OPR “open an investigation into the instances identified in this
reporting of possible misconduct by Department of Justice attorneys.” On February 6, 2019, the
Department of Justice Office of Legislative Affairs advised Senator Sasse that OPR had opened




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an investigation into the matter and would review the USAO’s decision to resolve the federal
investigation of Epstein through the NPA. 6

        After the district court issued its ruling in the CVRA litigation, on February 21, 2019, OPR
included within the scope of its investigation an examination of the government’s conduct that
formed the basis for the court’s findings that the USAO violated the CVRA in failing to afford
victims a reasonable right to confer with the government about the NPA before the agreement was
signed and that the government affirmatively misled victims about the status of the federal
investigation.

        During the course of its investigation, OPR obtained and reviewed hundreds of thousands
of records from the USAO, the FBI, and other Department components, including the Office of
the Deputy Attorney General, the Criminal Division, and the Executive Office for U.S. Attorneys.
The records included emails, letters, memoranda, and investigative materials. OPR also collected
and reviewed materials relating to the state investigation and prosecution of Epstein. OPR also
examined extensive publicly available information, including depositions, pleadings, orders, and
other court records, and reviewed media reports and interviews, articles, podcasts, and books
relating to the Epstein case.

        In addition to this extensive documentary review, OPR conducted more than 60 interviews
of witnesses, including the FBI case agents, their supervisors, and FBI administrative personnel;
current and former USAO staff and attorneys; current and former Department attorneys and senior
managers, including a former Deputy Attorney General and a former Assistant Attorney General
for the Criminal Division; and the former State Attorney and former Assistant State Attorney in
charge of the state investigation of Epstein. OPR also interviewed several victims and attorneys
representing victims, and reviewed written submissions from victims, concerning victim contacts
with the USAO and the FBI.

        OPR identified former U.S. Attorney Acosta, three former USAO supervisors, and the
AUSA as subjects of its investigation based on preliminary information indicating that each of
them was involved in the decision to resolve the case through the NPA or in the negotiations
leading to the agreement. OPR deems a current or former Department attorney to be a subject of
its investigation when the individual’s conduct is within the scope of OPR’s review and may result
in a finding of professional misconduct. OPR reviewed prior public statements made by Acosta
and another subject. All five subjects cooperated fully with OPR’s investigation. OPR requested
that all of the subjects provide written responses detailing their involvement in the federal
investigation of Epstein, the drafting and execution of the NPA, and decisions relating to victim
notification and consultation. OPR received and reviewed written responses from all of the
subjects, and subsequently conducted extensive interviews of each subject under oath and before
a court reporter. Each subject was represented by counsel and had access to relevant
contemporaneous documents before the subject’s OPR interview. The subjects reviewed and
provided comments on their respective interview transcripts and on OPR’s draft report. OPR


6
          The federal government was closed from December 22, 2018, to January 25, 2019. After initiating its
investigation, OPR also subsequently received other letters from U.S. Senators and Representatives inquiring into the
status of the OPR investigation.


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carefully considered the comments and made changes, or noted comments, as OPR deemed
appropriate; OPR did not, however, alter its findings and conclusions.

        Finally, OPR reviewed relevant case law, statutes, regulations, Department policy, and
attorney professional responsibility rules as necessary to resolve the issues presented in this case
and to determine whether the subjects committed professional misconduct.

        As part of its investigation, OPR examined the interactions between state officials and the
federal investigators and prosecutors, but because OPR does not have jurisdiction over state
officials, OPR did not investigate, or reach conclusions about, their conduct regarding the state
investigation. 7 Because OPR’s mission is to ensure that Department attorneys adhere to the
standards of professional conduct, OPR’s investigation focused on the actions of the subject
attorneys rather than on determining the full scope of Epstein’s and his assistants’ criminal
behavior. Accordingly, OPR considered the evidence and information regarding Epstein’s and his
assistants’ conduct as it was known to the subjects at the time they performed their duties as
Department attorneys. Additional evidence and information that came to light after June 30, 2008,
when Epstein entered his guilty plea under the NPA, did not affect the subjects’ actions prior to
that date, and OPR did not evaluate the subjects’ conduct on the basis of that subsequent
information.

        OPR’s investigation occurred approximately 12 years after most of the significant events
relating to the USAO’s investigation of Epstein, the NPA, and Epstein’s guilty plea. As a result,
many of the subjects and witnesses were unable to recall the details of events or their own or
others’ actions occurring in 2006-2008, such as conversations, meetings, or documents they
reviewed at the time. 8 However, OPR’s evaluation of the subjects’ conduct was aided significantly
by extensive, contemporaneous emails among the prosecutors and communications between the
government and defense counsel. These records often referred to the interactions among the
participants and described important decisions and, in some instances, the bases for them.

III.     OVERVIEW OF OPR’S ANALYTICAL FRAMEWORK

       OPR’s primary mission is to ensure that Department attorneys perform their duties in
accordance with the highest professional standards, as would be expected of the nation’s principal
law enforcement agency. Accordingly, OPR investigates allegations of professional misconduct
against current or former Department attorneys related to the exercise of their authority to

7
         In August 2019, Florida Governor Ron DeSantis announced that he had directed the Florida Department of
Law Enforcement to open an investigation into the conduct of state authorities relating to Epstein. As reported, the
investigation focuses on Epstein’s state plea agreement and the Palm Beach County work release program.
8
          OPR was cognizant that Acosta and the three managers all left the USAO during, or not long after resolution
of, the Epstein case, while the AUSA remained with the USAO until mid-2019. Moreover, as the line prosecutor in
the Epstein investigation and also as co-counsel in the CVRA litigation until the USAO was recused from that
litigation in early 2019, the AUSA had continuous access to the USAO documentary record and numerous occasions
to review these materials in the course of her official duties. Additionally, in responding to OPR’s request for a written
response, and in preparing to be interviewed by OPR, the AUSA was able to refresh her recollection with these
materials to an extent not possible for the other subjects, who were provided with relevant documents by OPR in
preparation for their interviews.


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investigate, litigate, or provide legal advice. 9 OPR also has jurisdiction to investigate allegations
of misconduct against Department law enforcement agents when they relate to a Department
attorney’s alleged professional misconduct.

        In its investigations, OPR determines whether a clear and unambiguous standard governs
the challenged conduct and whether a subject attorney violated that standard. Department
attorneys are subject to various legal obligations and professional standards in the performance of
their duties, including the Constitution, statutes, standards of conduct imposed by attorney
licensing authorities, and Department regulations and policies. OPR finds misconduct when it
concludes by a preponderance of the evidence that a subject attorney violated such a standard
intentionally or recklessly. Pursuant to OPR’s analytical framework, when OPR concludes that
(1) no clear and unambiguous standard governs the conduct in question or (2) the subject did not
intentionally or recklessly violate the standard that governs the conduct, then it concludes that the
subject’s conduct does not constitute professional misconduct. In some cases, OPR may conclude
that a subject attorney’s conduct does not satisfy the elements necessary for a professional
misconduct finding, but that the circumstances warrant another finding. In such cases, OPR may
conclude that a subject attorney exercised poor judgment, made a mistake, or otherwise acted
inappropriately under the circumstances. OPR may also determine that the subject attorney’s
conduct was appropriate under the circumstances. 10

IV.      ISSUES CONSIDERED

        In this investigation, OPR considered two distinct sets of allegations. The first relates to
the negotiation, execution, and implementation of the NPA. The second relates to the USAO’s
interactions with Epstein’s victims and adherence to the requirements of the CVRA. The two sets
of issues are described below and are analyzed separately in this Report.

         A.       The Negotiation, Execution, and Implementation of the NPA

       In evaluating whether any of the subjects committed professional misconduct, OPR
considered whether any of the NPA’s provisions violated a clear or unambiguous statute,
professional responsibility rule or standard, or Department regulation or policy. In particular, OPR
considered whether the NPA violated standards relating to (1) charging decisions, (2) declination
of criminal charges, (3) deferred or non-prosecution agreements, (4) plea agreements, (5) grants

9
         28 C.F.R. § 0.39a(a)(1). OPR has authority to investigate the professional conduct of attorneys occurring
during their employment by the Department, regardless of whether the attorney left the Department before or during
OPR’s investigation. Over its 45-year history, OPR has routinely investigated the conduct of former Department
attorneys. Although former Department attorneys cannot be disciplined by the Department, OPR’s determination that
a former Department attorney violated state rules of professional conduct for attorneys could result in a referral to an
appropriate state attorney disciplinary authority. Furthermore, findings resulting from investigations of the conduct
of Department attorneys, even former employees, may assist Department managers in supervising future cases.
10
          In some instances, OPR declines to open an investigation based upon a review of the initial complaint or after
a preliminary inquiry into the matter. In December 2010, one of the attorneys representing victims in the CVRA
litigation raised allegations that Epstein may have exerted improper influence over the federal criminal investigation
and that the USAO had deceived the victims of Epstein’s crimes about the existence of the NPA. Pursuant to its
standard policy, OPR declined to open an investigation into those allegations at that time in deference to the
then-pending CVRA litigation.


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of immunity, or (6) the deportation of criminal aliens. The potentially applicable standards that
OPR considered as to each of these issues are identified and discussed later in this Report. OPR
also examined whether the evidence establishes that any of the subjects were influenced to enter
into the NPA, or to include in the NPA terms favorable to Epstein, because of an improper motive,
such as a bribe, political consideration, personal interest, or favoritism. OPR also examined and
discusses in this Report significant events that occurred after the NPA was negotiated and signed
that shed additional light on the USAO’s handling of the Epstein investigation.

       B.      The District Court’s Conclusion That the USAO Violated the CVRA

       To address the district court’s adverse judicial findings, OPR assessed the manner, content,
and timing of the government’s interactions with victims both before and after the NPA was
signed, including victim notification letters issued by the USAO and the FBI and interviews
conducted by the USAO. OPR considered whether any of the subject attorneys violated any clear
and unambiguous standard governing victim consultation or notification. OPR examined the
government’s lack of consultation with the victims before the NPA was signed, as well as the
circumstances relating to the district court’s finding that the USAO affirmatively misled Epstein’s
victims about the status of the federal investigation after the NPA was signed.

V.     OPR’S FINDINGS AND CONCLUSIONS

         OPR evaluated the conduct of each subject and considered his or her individual role in
various decisions and events. Acosta, however, made the pivotal decision to resolve the federal
investigation of Epstein through a state-based plea and either developed or approved the terms of
the initial offer to the defense that set the beginning point for the subsequent negotiations that led
to the NPA. Although Acosta did not sign the NPA, he participated in its drafting and approved
it, with knowledge of its terms. During his OPR interview, Acosta acknowledged that he approved
the NPA and accepted responsibility for it. Therefore, OPR considers Acosta to be responsible for
the NPA and for the actions of the other subjects who implemented his decisions. Acosta’s overall
responsibility for the government’s interactions or lack of communication with the victims is less
clear, but Acosta affirmatively made certain decisions regarding victim notification, and OPR
evaluates his conduct with respect to those decisions.
       A.      Findings and Conclusions Relating to the NPA
        With respect to all five subjects of OPR’s investigation, OPR concludes that the subjects
did not commit professional misconduct with respect to the development, negotiation, and
approval of the NPA. Under OPR’s framework, professional misconduct requires a finding that a
subject attorney intentionally or recklessly violated a clear and unambiguous standard governing
the conduct at issue. OPR found no clear and unambiguous standard that required Acosta to indict
Epstein on federal charges or that prohibited his decision to defer prosecution to the state.
Furthermore, none of the individual terms of the NPA violated Department or other applicable
standards.
         As the U.S. Attorney, Acosta had the “plenary authority” under established federal law and
Department policy to resolve the case as he deemed necessary and appropriate, as long as his
decision was not motivated or influenced by improper factors. Acosta’s decision to decline to
initiate a federal prosecution of Epstein was within the scope of his authority, and OPR did not

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find evidence that his decision was based on corruption or other impermissible considerations,
such as Epstein’s wealth, status, or associations. Evidence shows that Acosta resisted defense
efforts to have the matter returned to the state for whatever result state authorities deemed
appropriate, and he refused to eliminate the incarceration and sexual offender registration
requirements. OPR did not find evidence establishing that Acosta’s “breakfast meeting” with one
of Epstein’s defense counsel in October 2007 led to the NPA, which had been signed weeks earlier,
or to any other significant decision that benefited Epstein. The contemporaneous records show
that USAO managers’ concerns about legal issues, witness credibility, and the impact of a trial on
the victims led them to prefer a pre-charge resolution and that Acosta’s concerns about the proper
role of the federal government in prosecuting solicitation crimes resulted in his preference for a
state-based resolution. Accordingly, OPR does not find that Acosta engaged in professional
misconduct by resolving the federal investigation of Epstein in the way he did or that the other
subjects committed professional misconduct through their implementation of Acosta’s decisions.
        Nevertheless, OPR concludes that Acosta’s decision to resolve the federal investigation
through the NPA constitutes poor judgment. Although this decision was within the scope of
Acosta’s broad discretion and OPR does not find that it resulted from improper factors, the NPA
was a flawed mechanism for satisfying the federal interest that caused the government to open its
investigation of Epstein. In Acosta’s view, the federal government’s role in prosecuting Epstein
was limited by principles of federalism, under which the independent authority of the state should
be recognized, and the federal responsibility in this situation was to serve as a “backstop” to state
authorities by encouraging them to do more. However, Acosta failed to consider the difficulties
inherent in a resolution that relied heavily on action by numerous state officials over whom he had
no authority; he resolved the federal investigation before significant investigative steps were
completed; and he agreed to several unusual and problematic terms in the NPA without the
consideration required under the circumstances. In sum, Acosta’s application of federalism
principles was too expansive, his view of the federal interest in prosecuting Epstein was too
narrow, and his understanding of the state system was too imperfect to justify the decision to use
the NPA. Furthermore, because Acosta assumed a significant role in reviewing and drafting the
NPA and the other three subjects who were supervisors left the USAO, were transitioning to other
jobs, or were absent at critical junctures, Acosta should have ensured more effective coordination
and communication during the negotiations and before approving the final NPA. The NPA was a
unique resolution, and one that required greater oversight and supervision than Acosta provided.
       B.      Findings and Conclusions Relating to the Government’s Interactions with
               Victims

        OPR further concludes that none of the subject attorneys committed professional
misconduct with respect to the government’s interactions with victims. The subjects did not have
a clear and unambiguous duty under the CVRA to consult with victims before entering into the
NPA because the USAO resolved the Epstein investigation without a federal criminal
charge. Significantly, at the time the NPA was signed, the Department did not interpret CVRA
rights to attach unless and until federal charges had been filed, and the federal courts had not
established a clear and unambiguous standard applying the CVRA before criminal charges were
brought. In addition, OPR did not find evidence that the lack of consultation was for the purpose
of silencing victims. Nonetheless, the lack of consultation was part of a series of government
interactions with victims that ultimately led to public and court condemnation of the government’s

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treatment of the victims, reflected poorly on the Department as a whole, and is contradictory to the
Department’s mission to minimize the frustration and confusion that victims of a crime endure.
        OPR determined that none of the subjects was responsible for communications sent to
certain victims after the NPA was signed that described the case as “under investigation” and that
failed to inform them of the NPA. The letters were sent by an FBI administrative employee who
was not directly involved in the investigation, incorporated standard form language used by the
FBI when communicating with victims, and were not drafted or reviewed by the subjects.
Moreover, the statement that the matter was “under investigation” was not false because the
government in fact continued to investigate the case in anticipation that Epstein would not fulfill
the terms of the NPA. However, the letters risked misleading the victims and contributed to victim
frustration and confusion by failing to provide important information about the status of the
investigation. The letters also demonstrated a lack of coordination between the federal agencies
responsible for communicating with Epstein’s victims and showed a lack of attention to and
oversight regarding communication with victims.
        After the NPA was signed, Acosta elected to defer to the State Attorney the decision
whether to notify victims about the state’s plea hearing pursuant to the state’s own victim’s rights
requirements. Although Acosta’s decision was within his authority and did not constitute
professional misconduct, OPR concludes that Acosta exercised poor judgment when he failed to
make certain that the state intended to and would notify victims identified through the federal
investigation about the state plea hearing. His decision left victims uninformed about an important
proceeding that resolved the federal investigation, an investigation about which the USAO had
communicated with victims for months. It also ultimately created the misimpression that the
Department intentionally sought to silence the victims. Acosta failed to ensure that victims were
made aware of a court proceeding that was related to their own cases, and thus he failed to ensure
that victims were treated with forthrightness and dignity.
         OPR concludes that the decision to postpone notifying victims about the terms of the NPA
after it was signed and the omission of information about the NPA during victim interviews and
conversations with victims’ attorneys in 2008 do not constitute professional misconduct.
Contemporaneous records show that these actions were based on strategic concerns about creating
impeachment evidence that Epstein’s victims had financial motives to make claims against him,
evidence that could be used against victims at a trial, and were not for the purpose of silencing
victims. Nonetheless, the failure to reevaluate the strategy prior to interviews of victims and
discussions with victims’ attorneys occurring in 2008 led to interactions that contributed to
victims’ feelings that the government was intentionally concealing information from them.
        After examining the full scope and context of the government’s interactions with victims,
OPR concludes that the government’s lack of transparency and its inconsistent messages led to
victims feeling confused and ill-treated by the government; gave victims and the public the
misimpression that the government had colluded with Epstein’s counsel to keep the NPA secret
from the victims; and undercut public confidence in the legitimacy of the resulting agreement. The
overall result of the subjects’ anomalous handling of this case understandably left many victims
feeling ignored and frustrated and resulted in extensive public criticism. In sum, OPR concludes
that the victims were not treated with the forthrightness and sensitivity expected by the
Department.


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VI.    ORGANIZATION OF THE REPORT

        The Report is divided into three chapters. In Chapter One, OPR describes the relevant
federal, state, and local law enforcement entities involved in investigating Epstein’s criminal
conduct, as well as the backgrounds of the five subjects and their roles in the events in question.
OPR provides a brief profile of Epstein and identifies the defense attorneys who interacted with
the subjects.

         In Chapter Two, OPR sets forth an extensive account of events relating to the federal
investigation of Epstein. The account begins with the initial complaint in March 2005 by a young
victim and her parents to the local police—a complaint that launched an investigation by local law
enforcement authorities—and continues through the mid-2006 opening of the federal
investigation; the September 2007 negotiation and signing of the NPA; Epstein’s subsequent
efforts to invalidate the NPA through appeals to senior Department officials; Epstein’s June 2008
guilty plea in state court; and, finally, efforts by the AUSA to ensure Epstein’s compliance with
the terms of the NPA during his incarceration and until his term of home detention ended in July
2010. After describing the relevant events, OPR analyzes the professional misconduct allegations
relating to the decisions made regarding the development and execution of the NPA. OPR
describes the relevant standards and sets forth its findings and conclusions regarding the subjects’
conduct.

       Chapter Three concerns the government’s interactions with victims and the district court’s
findings regarding the CVRA. OPR describes the relevant events and analyzes the subjects’
conduct in light of the pertinent standards.

        OPR sets forth the extensive factual detail provided in Chapters Two and Three, including
internal USAO and Department communications, because doing so is necessary for a full
understanding of the subjects’ actions and of the bases for OPR’s conclusions.




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